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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
----------------------------------------------------------------
                                                               :
JOSEPH MURRAY,                                                 :
                                                               : Civil Action No. 2:19-cv-18252-CCC-ESK
                           Plaintiff,                          :
         v.                                                    :
                                                               :
CHARLES E. BAXLEY,                                             :
                                                               :
                           Defendant.                          :
----------------------------------------------------------------


                           NOTICE OF VOLUNTARY DISMISSAL
                           WITHOUT PREJUDICE PURSUANT TO
                                FED.R.CIV.P. 41(a)(1)(A)(i)


       Plaintiff, Joseph Murray, in the above-captioned legal action, pursuant to Fed.R.Civ.P.

41(a)(1)(A)(i), hereby voluntarily dismisses his complaint without prejudice as to defendant

Charles E. Baxley; said defendant being a party that has not filed either an answer to plaintiff’s

complaint nor a motion for summary judgment.

Dated: October 18, 2019                        Respectfully submitted,
       Florham Park, New Jersey

                                               s/Joseph T. Murray
                                               Joseph T. Murray
                                               Appearing pro se

                                               195 Columbia Turnpike – Suite 125
                                               Tel. 646.690.1950
                                               Fax. 646.225.7137
                                               e-mail: jtm@twillmurray.com
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                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the annexed NOTICE OF VOLUNTARY

DISMISSAL was served on defendant on this 25th day of October 2019 via first-class mail,

postage prepaid, in an envelope addressed to:

                             CHARLES E. BAXLEY
                             90 JOHN STREET – SUITE 403
                             NEW YORK, N.Y. 10038-3242



                                            s/Joseph T. Murray




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